          Case 2:14-cr-00310-KJD-VCF           Document 90       Filed 01/07/16     Page 1 of 1




1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3                                                      ***

4

5     UNITED STATES OF AMERICA,

6                          Plaintiff,                     2:14-cr-00310-KJD-VCF
                                                          ORDER
7     vs.
      MAIZAH SHANTAL LUCIOUS,
8
                           Defendant.
9
            Before the court is Defendant Maizah Shantel Lucious' Motion to Compel United States Marshal
10
     to Transport Detainee to an Optometrist and Provide Detainee with Prescription Eyeglasses (#88). The
11
     government filed its response to the motion to compel (#89).
12
            IT IS HEREBY ORDERED that a status hearing on Defendant Maizah Shantel Lucious' Motion
13
     to Compel United States Marshal to Transport Detainee to an Optometrist and Provide Detainee with
14
     Prescription Eyeglasses (#88) is scheduled for 11:00 a.m., January 14, 2016, in courtroom 3D. The
15
     government must arrange to have a representative with knowledge of Defendant's corrective lens condition
16
     to attend the hearing. If Defendant's corrective lens condition has been resolved, the hearing on January
17
     14, 2016 will be vacated.
18
            DATED this 7th day of January, 2016.
19

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21                                                              _________________________
                                                                CAM FERENBACH
22
                                                                UNITED STATES MAGISTRATE JUDGE
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